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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                  DistrictDistrict
                                             __________    of Columbia
                                                                   of __________


                   Charles M. Kupperman                        )
                             Plaintiff                         )
                                v.                             )      Case No. 1:19-cv-03224-RJL
      United States House of Representatives, et al.           )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         proposed intervenors CNN Inc., AP, N.Y. Times Co., Dow Jones & Co., Inc., Politico, Reuters and WP Co.        .


Date:          11/11/2019                                                              /s/ Matthew E. Kelley
                                                                                         Attorney’s signature


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